          Case 1:19-cv-03806-LMM Document 74 Filed 07/25/22 Page 1 of 3
                                                                                  FILED IN CLERK'S OFFICE
                                                                                      U.S.D.C. -Atlanta


                                                                                   JUL 25 2022
                                            U.S.C.A. DOCKET
                                          NO. 2019CV03806
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                             IN THE UNITED STATES COURT
                              FOR THE ELEVENTH CIRCUIT




                                     MELANIE OGLETREE
                                              V.
                          AETNA LIFE INSURANCE COMPANY




                                      United States Court
                                       Atlanta Division


Motion to immediately Seal Records (any and all records/Filings) for case
2019cv03806 for the below 3 listed filings


MELANIE OGLETREE



Motion to immediately Seal Records (any and all records/Filings) for case
2019cv03806 for the below 3 listed filings .

Please immediately seal any and all of my court records, filings and dockets and uploaded
attachments for the 3 below case filings.

The below filing information being published is highly detrimental to my mental Health and is
currently available on Pacer and many websites.

    •   2019cv03806
        1: 19-cv-03806-LMM
        Ogletree v. Aetna Life Insurance Company

The below listed filings contain :

    •   Highly sensitive medical information that is protected by Hippa regulations
         Case 1:19-cv-03806-LMM Document 74 Filed 07/25/22 Page 2 of 3
                                                                               ~-~---------------~
                                                                                                 I


   •    Contains my address, email address, phone number and date of birth

   •    They contain my complete Social Security Disability records that includes my social
        security number

    •   My extensive and confidential/hippa doctors records

    •   All of my pharmacy/prescription data

   •    My medical diagnoses and symptoms

    •   My family history

    •   My detailed insurance information and detailed insurance plan number

   •    My work sensitive data and job position and history

   •    Much more highly sensitive data



Please immediately seal the below 3 filings and all associated documents and docket
information :

1.
Filed: 12/18/2020
Entered:      12/21/2020
Docket Text Terminated Case

2.
Filed: 12/18/2020
Entered:      12/21/2020
Docket Text Order on Motion for Summary Judgment

3.
Filed & Entered:      12/21/2020
Docket Text Clerk's Judgment



Please confirm sealing of my case filings via email. Please help. Thank you.

Melanie ogletree
                                    Case 1:19-cv-03806-LMM Document 74 Filed 07/25/22 Page 3 of 3




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